Case 4:23-cv-01175-O          Document 169          Filed 04/01/25     Page 1 of 1      PageID 4133

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

    X CORP                                          §
                                                    §
         Plaintiff,                                 §
                                                    §
    v.                                              §   Civil Action No. 4:23-CV-01175-O
                                                    §
    MEDIA MATTERS FOR AMERICA,                      §
    ET AL.,                                         §
                                                    §
         Defendants.                                §

                                              ORDER

            Before the Court are ten documents provided to the Court by Defendants for in camera

review, which were requested in Plaintiff’s Motion to Compel.1 See Jan 3, 2025, Order 8, ECF

No. 136; Pl.’s Mot. to Compel, ECF No. 95. The Court deferred ruling on Plaintiff’s Motion to

Compel until after an in camera review because Plaintiff argued that the withheld documents may

be “relevant because [they] show[] inconsistency between Defendants’ reporting on other subjects

and the malicious conduct in this case.”2

            Having reviewed the documents, the Court DENIES Plaintiff’s Motion to Compel.

ECF No. 95. Plaintiff cannot satisfy the two disputed requirements for disclosure. TEX. CIV. PRAC.

& REM. CODE § 22.024(5)–(6). Specifically, Plaintiff’s Motion to Compel is denied because the

documents are “peripheral, nonessential, or speculative” and are not “relevant and material.” Id.

            SO ORDERED on this 1st day of April, 2025.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE


1
  The ten documents that the Court requested production of are: MMFA_013561, MMFA_013698, MMFA_013699,
MMFA_013715, MMFA_013756, MMFA_013762, MMFA_013763, MMFA_013765, MMFA_013767, and
MMFA_013777.
2
  Pl.’s Br. in Supp. Mot. to Compel. 10, ECF No. 96.

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